                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                                       No. 07-CR-60-LRR
 vs.                                                                      ORDER
 JOHN SCHULER
 and HEATHER FIORELLA, a/k/a
 Heather Gonsorcik,
                  Defendants.
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                                        I. INTRODUCTION
         The matter before the court is Defendant John Schuler’s Objections to Report and
Recommendation Filed in Response to Joint Defense Motion to Suppress (“Schuler
Objections”) (docket no. 44), and Co-Defendant Heather Fiorella’s Joinder of Co-



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Defendant’s Objections to Report and Recommendation (“Joinder”) (collectively,
“Objections”) (docket no. 46), to the Report and Recommendation (docket no. 38), which
recommends denying the Joint Defense Motion to Suppress (“Motion”) (docket no. 22).
                              II. PROCEDURAL HISTORY
       On August 28, 2007, the grand jury returned a four-count Superceding Indictment
against Defendants.    Count 1 charges that, from in or about mid-2005, Defendants
conspired to produce child pornography, in violation of 18 U.S.C. § 2251(a) and (e).
Count 2 charges that, in or about July of 2005, Defendants produced and attempted to
produce child pornography, in violation of 18 U.S.C. § 2251(a) and (e) and § 2(a). Count
3 charges that, in or about mid-2006, Defendants produced and attempted to produce child
pornography, in violation of 18 U.S.C. § 2251(a) and (e) and § 2(a). Count 4 charges that,
in about March of 2007, Defendants possessed, attempted to possess and aided and abetted
the possession of child pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2)
and § 2(a).
       On August 27, 2007, Defendants filed the Motion. On September 4, 2007, the
government filed a resistance to the Motion. On September 5, 2007, the Honorable United
States Magistrate Judge Jon Stuart Scoles (“Magistrate Judge Scoles”) held a hearing on the
Motion.
       On September 18, 2007, Magistrate Judge Scoles entered a Report and
Recommendation, in which he recommended that the Motion be denied. Magistrate Judge
Scoles concluded that the state court search warrant was supported by probable cause, and,
alternatively, that (1) the evidence produced from such warrant was admissible pursuant to
the independent source doctrine and (2) the Leon good faith exception applied, United States
v. Leon, 468 U.S. 897, 922 (1984). On October 2, 2007, Defendant Schuler filed the
Schuler Objections. On October 8, 2007, Defendant Fiorella filed the Joinder. The court
finds the matter fully submitted and ready for review.


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                             III. STANDARD OF REVIEW
       A district court judge must make a de novo determination of those portions of a
magistrate judge’s report or recommendation to which a party objects.           28 U.S.C.
§ 636(b)(1); see, e.g., United States v. Uscanga-Ramirez, 475 F.3d 1024, 1027 (8th Cir.
2007) (stating that de novo review is “required”). The judge may accept, reject or modify,
in whole or in part, the magistrate judge’s findings and recommendations. 28 U.S.C.
§ 636(b)(1).
       Federal Rule of Criminal Procedure 59 similarly explains that “[a] district judge may
refer to a magistrate judge for recommendation a defendant’s . . . motion to suppress
evidence . . . . The magistrate judge must promptly conduct the required proceedings.”
Fed. R. Crim. P. 59(b)(1). Thereafter, “a party may serve and file specific written
objections to the proposed findings and recommendations.” Fed. R. Crim. P. 59(b)(2).
“The district judge must consider de novo any objection to the magistrate judge’s
recommendation. The district judge may accept, reject, or modify the recommendation,
receive further evidence, or resubmit the matter to the magistrate judge with instructions.”
Fed. R. Crim. P. 59(b)(3).
       Because Defendants have made timely and specific objections in this case, the
following de novo review is required. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(3).
                                   IV. THE MERITS
                                   A. Findings of Fact
       After a de novo review of the record, the court adopts Magistrate Judge Scoles’s
findings of fact in the Report and Recommendation.
                                    B. Relevant Law
       1.      Fourth Amendment and Exclusionary Rule
       The Fourth Amendment to the United States Constitution states that “no Warrants
shall issue, but upon probable cause, supported by Oath or affirmation . . . .” U.S. Const.


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amend. IV. “Determinations of probable cause must be premised on the totality of the
circumstances.” United States v. Williams, 477 F.3d 554, 557 (8th Cir. 2007). “‘The task
of the issuing magistrate is simply to make a practical, common-sense decision whether,
given all the circumstances set forth in the affidavit before him . . . there is a fair
probability that contraband or evidence of a crime will be found in a particular place.’” Id.
(quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)). Independently corroborated evidence
supports a finding of probable cause. United States v. Carter, 413 F.3d 712, 714 (8th Cir.
2005) (“A premium is indeed placed on corroboration of the tip by independent evidence
and evidence of past reliability in cases where the statements of a confidential informant
provide the basis for probable cause.”). “Even the corroboration of minor, innocent details
can suffice to establish probable cause.” United States v. Tyler, 238 F.3d 1036, 1039 (8th
Cir. 2001).
       Among the evidence that may establish probable cause are the statements of third-
party observers; the Eighth Circuit Court of Appeals has ruled, in the child pornography
context, that a law enforcement officer’s reliance on the observations by a third-party of
suspected child pornography may suffice for a finding of probable cause. United States v.
Grant, 490 F.3d 627, 631 (8th Cir. 2007) (holding that allegation by computer technician
that defendant’s hard drive contained child pornography was sufficient for finding of
probable cause); see also United States v. Gipp, 147 F.3d 680, 687 (8th Cir. 1998) (holding
that a law enforcement officer’s affidavit recounting observations of a witness to a stolen
stereo in the defendant’s house sufficed to establish probable cause for search thereof);
United States v. Weisser, 737 F.2d 729, 732 (8th Cir. 1984) (holding that “interviews with
witnesses” are among the bases on which a law enforcement officer may rely in an affidavit
establishing probable cause).
       “An issuing judge’s probable cause determination is entitled to substantial
deference.” United States v. Durham, 470 F.3d 727, 733 (8th Cir. 2006) (citing United


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States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996)). “[T]he duty of a reviewing court
is simply to ensure the magistrate had a substantial basis for concluding that probable cause
existed.” Gates, 362 U.S. at 238-39 (citations, internal quotation marks and alterations
omitted).
       The “exclusionary rule” provides that “evidence seized during an unlawful search
[cannot] constitute proof against the victim of the search.” Wong Sun v. United States, 371
U.S. 471, 484-85 (1963).
       2.      Exceptions to the Exclusionary Rule
       There are exceptions to the exclusionary rule. Two of these exceptions are relevant
here. First,
               [t]he independent source doctrine provides that evidence
               initially discovered during an unlawful search, but later
               obtained independently through activities untainted by the
               illegality, may be admitted into evidence. This rule is rooted
               in the view that the interest of society in deterring unlawful
               police conduct and the public interest in having juries receive
               all probative evidence of a crime are properly balanced by
               putting the police in the same, not a worse, position that they
               would have been in if no police error or misconduct had
               occurred. To establish that the independent source doctrine
               applies to evidence seized pursuant to a warrant obtained after
               an unlawful entry to a home, the government must show both
               (1) that the decision to seek the warrant was independent of the
               unlawful entry—i.e., that police would have sought the warrant
               even if the initial entry had not occurred—and (2) that the
               information obtained through the unlawful entry did not affect
               the magistrate’s decision to issue the warrant.
United States v. Khabeer, 410 F.3d 477, 483 (8th Cir. 2005) (citations and internal
quotations omitted).
       Second, the Supreme Court in Leon, 468 U.S. at 922, explained the circumstances
under which evidence obtained by police officers acting in good faith, although pursuant
to an unlawfully issued search warrant, may nonetheless be admissible. In general,

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disputed evidence will be admissible if the officer executing the unlawful search warrant
was “objectively reasonable” in relying in good faith on the issuing magistrate’s probable
cause determination. Id. However, there are
             four circumstances in which an officer’s reliance on a search
             warrant would be objectively unreasonable: (1) when the
             affidavit or testimony in support of the warrant included a false
             statement made knowingly and intentionally or with reckless
             disregard for its truth, thus misleading the issuing judge; (2)
             when the judge wholly abandoned his judicial role in issuing the
             warrant; (3) when the affidavit in support of the warrant was so
             lacking in indicia of probable cause as to render official belief
             in its existence entirely unreasonable; and (4) when the warrant
             is so facially deficient that the executing officer could not
             reasonably presume the warrant to be valid.
Grant, 490 F.3d at 632-33 (internal citations and quotations omitted).
                                       C. Analysis
      In the Objections, Defendants propound four objections to the Report and
Recommendation. The court addresses each of these objections in turn.
      1.     Objection 1
      Defendants object to the legal conclusion in the Report and Recommendation that the
affidavit (“Affidavit”), submitted in support of the search warrant issued by a Linn County
Judicial Officer on March 16, 2007 (“State Search Warrant”), suggested a fair probability
that evidence of a crime would be found at Defendant Fiorella’s residence. Defendants
contend that there is no evidence that Officer Martin K. DeVore of the Cedar Rapids Police
Department (“Officer DeVore”), or any other law enforcement officer, reviewed the e-
mailed copies of sexually explicit images of minor females (“Images”) before completing
the Affidavit. Instead, Officer DeVore relied on the statements made by an unidentified
complaining witness (“Complainant”), who stated that he had received and viewed the
Images. Defendants suggest that this reliance was misplaced in light of Grant, and that the
chat logs provided by the Complainant, although disturbing, do not establish a fair

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probability that evidence of a crime could be found at Defendant Fiorella’s residence.
         Defendants argue that Grant stands for the proposition that a law enforcement
officer’s reliance on a third-party’s observations of alleged child pornography may only
establish probable cause if the observer is “uniquely able, and properly motivated, to
distinguish between child pornography and lawful images.” Grant, 490 F.3d at 632.
Because the Affidavit does not contain a name or description of the Complainant here, there
was an insufficient basis for the Linn County Judicial Officer to make a finding of probable
cause.
         Defendants’ argument fails for several reasons. First, unlike in Grant, there was
corroborating evidence to support the Complainant’s conclusion that the Images were child
pornography. The chat logs explicitly referenced sexual activities with 10 year-old, 12
year-old and 15 year-old children, possibly within the household, who may have been video
taped or photographed, including, specifically, a 12 year-old female (“Chat Log
Evidence”). The issuing magistrate in Grant was presented only with the observations of
a third-party in the supporting affidavit. 490 F.3d at 631. Indeed, the Chat Log Evidence
itself is sufficient for establishing probable cause. See Tyler, 238 F.3d at 1039 (holding that
the corroboration of even minor details can suffice for probable cause). Second, an
observation of a third-party in a supporting affidavit for a search warrant may serve as the
basis for a finding of probable cause. Gipp, 147 F.3d at 687. The Eighth Circuit Court
of Appeals has acknowledged the reliability of a third-party’s observations of alleged child
pornography because “[m]ost minors look like minors and most adults look like
adults . . . .” Grant, 490 F.3d at 632 (quoting United States v. Koelling, 992 F.2d 817,
822 (8th Cir. 1993)). Thus, the observations of the Complainant, which possess some
degree of reliability, Grant, 490 F.3d at 632, coupled with the Chat Log Evidence,
established a “fair probability” that child pornography would be found at Defendant
Fiorella’s residence. See Gates, 462 U.S. at 238. For these reasons, the court shall
overrule the objection and adopt the analysis set forth in the Report and Recommendation.

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       2.     Objection 2
       Defendants object to the legal conclusion in the Report and Recommendation that the
evidence supplied by the Complainant in the Affidavit was sufficiently corroborated to
support a finding of probable cause.         Specifically, Defendants highlight that the
Complainant was the source of the Images and the Chat Log Evidence, suggesting the
Affidavit contained no independent corroborating evidence. As an initial matter, though,
the Linn County Judicial Officer’s “probable cause determination is entitled to substantial
deference.” Durham, 470 F.3d at 733. Moreover, the allegations of a third-party alone
may serve as the basis for a finding of probable cause, Gipp, 147 F.3d at 687; United States
v. Hubbard, 227 F.App’x 224, 225 (4th Cir. 2007) (holding that defendant’s ex-girlfriend’s
allegation of sexual abuse of her two children, coupled with her allegation that she had seen
child pornography in defendant’s home and in his mother’s home, were sufficient to
establish probable cause to search defendant’s home and defendant’s mother’s home for
child pornography), and law enforcement’s inability to corroborate important allegations
of a confidential informant is not necessarily fatal to a finding of probable cause, United
States v. Pritchard, 745 F.2d 1112, 1120 (7th Cir. 1984). Therefore, for these reasons,
the court shall overrule the objection and adopt the analysis set forth in the Report and
Recommendation.
       3.     Objection 3
       Defendants object to the legal conclusion in the Report and Recommendation that the
evidence seized in this case is admissible nonetheless under the independent source
doctrine. Specifically, Defendants argue that because the evidence seized pursuant to the
State Search Warrant was not actually discovered thereafter by federal law enforcement
officers, the independent source doctrine does not apply. Defendants contend that the
disputed evidence must be in fact “later obtained,” Khabeer, 410 F.3d at 483, and that it
is insufficient for the government to show that the disputed evidence nevertheless would
have been obtained.

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       The court notes that it adopts the probable cause analysis in the Report and
Recommendation and concludes that the warrant was properly issued, but it will address the
objection in any case.    The major controlling cases on the independent source doctrine
involve evidence that was initially seized unlawfully but later obtained in fact by lawful
means through an independent source. See, e.g., Murray v. United States, 487 U.S. 533,
535-36 (1988); Nix v. Williams, 467 U.S. 431, 436 (1984); Nardone v. United States, 308
U.S. 338, 341 (1939). Although the disputed evidence here perhaps may be admissible
pursuant to the inevitable discovery doctrine, Nix, 467 U.S. at 444, the court declines to
engage in that analysis given the adoption of the Leon analysis in response to Objection 4.
Therefore, the court shall sustain Objection 3.
       4.     Objection 4
       Defendants object to the conclusion that the Leon good-faith exception applies. The
court notes at the outset, that it agrees with the legal conclusion in the Report and
Recommendation that probable cause existed to issue the State Search Warrant, but it will
address the objection in any case.
       Defendants implicitly employ the third exception to Leon’s good faith rule, namely,
the Affidavit “in support of the warrant was so lacking in indicia of probable cause as to
render official belief in its existence entirely unreasonable . . . .” Grant, 490 F.3d at 632-
33. Defendants must meet an exacting standard, namely, that the executing officer’s
“reliance on the warrant was objectively unreasonable based on an affidavit so lacking
indicia of probable cause.” United States v. Johnson, 78 F.3d 1258, 1263 (8th Cir. 1996).
The inquiry is confined “‘to the objectively ascertainable question whether a reasonably
well trained officer would have known that the search was illegal despite the [issuing
judge’s] authorization . . . .’” Grant, 490 F.3d at 632 (quoting Leon, 468 U.S. at 922 n.3).
The Eighth Circuit Court of Appeals’ holding in United States v. Herron suggests that the
executing officer must know the issuance of the warrant was based on no evidence, rather
than merely weak evidence, for Leon’s safe harbor to be inapplicable. 215 F.3d 812, 814

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(8th Cir. 2000) (holding that Leon good faith exception did not apply where officers relied
on warrant based on affidavit that contained “no evidence . . . that [marijuana or the
implements of marijuana production] would be found” at defendant’s home (alterations in
original)).
       However, as explained in the analyses of Objection 1 and Objection 2 above, as well
as in the Report and Recommendation, there was an ample showing of probable cause. If,
based on the Affidavit in support of the State Search Warrant, “‘there [was] a fair
probability that contraband or evidence of a crime [would] be found [at Defendant Fiorella’s
residence],’” Williams, 477 F.3d at 557 (quoting Gates, 462 U.S. at 238), Office DeVore
was hardly “objectively unreasonable” in relying on the validity of the State Search
Warrant, Grant, 490 F.3d at 632-33. Furthermore, the Eighth Circuit Court of Appeals
held in Grant that the executing officer was objectively reasonable in relying on the validity
of the search warrant, even though the executing officer presented only the allegations of
third-parties in his supporting affidavit and had not observed the alleged pornographic
images of children himself. 490 F.3d at 633; see also United States v. Pruett, No. 06-
3500, 2007 WL 2492582, *5 (8th Cir. Sept. 6, 2007) (holding that officer reasonably relied
on validity of warrant even though it was based on the uncorroborated statements of an
informant); United States v. Hallam, 407 F.3d 942, 946 (8th Cir. 2005) (holding that
officer’s reliance on warrant’s validity was not “entirely unreasonable” even though based
upon the lone allegation of an informant that the defendant possessed illegal firearms). The
similarity alone between the circumstances in Grant and those here entails that the Leon
good faith exception should apply. Therefore, for the same reasons, the court shall
overrule the objection and adopt the well reasoned analysis set forth in the Report and
Recommendation.
                                    V. CONCLUSION
For the foregoing reasons, it is hereby ORDERED:
       (1)    Objections 1, 2 and 4 in Defendant Schuler’s Objections to Report and


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        Recommendation (docket no. 44), as joined by Defendant Fiorella (docket no.
        46) are OVERRULED;
  (2)   Objection   3   in   Defendant    Schuler’s    Objections   to   Report     and
        Recommendation (docket no. 44), as joined by Defendant Fiorella (docket no.
        46) is SUSTAINED;
  (3)   Magistrate Judge Scoles’s Report and Recommendation (docket no. 38),
        excluding the recommendation as to Objection 3, is ADOPTED;
  (4)   Defendants’ Motion (docket no. 22) is DENIED; and
  (5)   The period between the filing of Defendants’ Motion and this Order is
        excluded from calculation under the Speedy Trial Act.             18 U.S.C.
        § 3161(h)(1)(F) (excluding delay resulting from the filing of any pretrial
        motion through the prompt disposition of the motion); 18 U.S.C.
        § 3161(h)(1)(J) (excluding “delay reasonably attributable to any period, not
        to exceed thirty days, during which any proceeding concerning the defendant
        is actually under advisement by the court”).
  IT IS SO ORDERED.
  DATED this 15th day of October, 2007.




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